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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                 MIAMI-DADE DIVISION

In re: ROGER HERNANDEZ                                                    Case No.: 24-14741-LMI
                                                                          Chapter 7

      Debtor(s).
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                              SUPPLEMENTAL FEE DISCLOSURE

       Counsel for the Debtor(s), Kingcade & Garcia, P.A., pursuant to 11 U.S.C. § 329 and
Rule 2016 of the Federal Rules of Bankruptcy Procedure, hereby files this Supplemental Fee
Disclosure.
       1.      The Debtor has requested and believes that the following services, which are not
contemplated by the original fee agreement between the Debtor and the attorney for the Debtor,
are reasonable and necessary: File and Prepare Notice of Conversion, Representation in
Converted Chapter 7 Case and File Prepare and Serve Amended Schedules.
       2.      For these services, counsel for the Debtor(s), Kingcade & Garcia, P.A., has
received a fee of $2,400.00 and costs of $100.00. Kingcade & Garcia, P.A. has not agreed to
share the above – disclosed compensation with person(s) who are not members or associates of
Kingcade & Garcia, P.A.
                              CERTIFICATE OF SERVICE
     I HEREBY CERTIFY that a true and correct copy of the foregoing was sent, via
CM/ECF to all parties registered to receive electronic service on December 6 2024.


       CERTIFICATE PURSUANT TO                     KINGCADE & GARCIA, P.A
         LOCAL RULE 9011-4(B)                      Counsel for the Debtor
                                                   Kingcade Building
            I HEREBY CERTIFY that I                1370 Coral Way ▪ Miami, Florida 33145-2960
       am admitted to the Bar of the United        WWW.MIAMIBANKRUPTCY.COM
       States District Court for the               Telephone: 305-285-9100
       Southern District of Florida and I am
       in compliance with the additional           __/s/_Timothy S. Kingcade
       qualifications to practice in this
       Court set forth in Local Rule 2090-
                                                   x Timothy S. Kingcade, Esq., FBN 082309
       1(A).                                       □ Wendy Garcia, Esq., FBN 0865478
                                                   □ Jessica L. McMaken, Esq., FBN 580163
